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                         UNITED STATES BANKRUPTCY COURT
                         NORTHERN DISTRICT OF MISSISSIPPI

IN RE: RANDELL L. GERMAN
AND PAMELA J. GERMAN                                           CHAPTER 13

DEBTORS                                                        CASE NO. 16-10370 JDW

         MOTION TO MODIFY CHAPTER 13 PLAN AFTER CONFIRMATION

       COME NOW, Randell and Pamela German, Debtors, pursuant to 11 U.S.C. § 1329, and

by and through their attorney of record, and states as follows:

       1.      That, Debtors’ Chapter 13 Plan was confirmed on May 20, 2016 [dkt. # 22], and

               provides for a plan period of 60 months with a 100% distribution being paid to

               unsecured creditors with timely filed claims.

       2.      That, since confirmation of Debtors’ plan, Debtor, Randell German, has retired

               due to health issues and the Debtors’ income has significantly decreased, as

               shown in Amended Schedule I on file with the Court.

       3.      That, The Debtors’ would request their distribution to unsecured creditors be

               reduced to the amount already paid.

       4.      All creditors listed on the mailing matrix shall have a minimum of 30 days from

               the date of filing of the motion to file a response or objection with the Court.

       WHEREFORE, PREMISES CONSIDERED, Debtors move this Honorable Court to

enter an order directing the modification of Chapter 13 plan after confirmation.

                                              RESPECTFULLY SUBMITTED,
                                              /s/Karen B. Schneller
                                              KAREN B. SCHNELLER, MSB#6558
                                              ROBERT H. LOMENICK, MSB #104186
                                              SCHNELLER & LOMENICK, P.A.
                                              126 North Spring Street
                                              Post Office Box 417
                                              Holly Springs, MS 38635
                                              (662) 252-3224/karen.schneller@gmail.com
                                              rlomenck@gmail.com
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                        UNITED STATES BANKRUPTCY COURT
                        NORTHERN DISTRICT OF MISSISSIPPI

IN RE: RANDELL L. GERMAN
AND PAMELA J. GERMAN                                       CHAPTER 13

DEBTORS                                                    CASE NO. 16-10370 JDW



                                   NOTICE OF MOTION

        PLEASE TAKE NOTICE that all responses are due on or before thirty (30) days from

the date of this notice, to consider and act upon the Motion for Modification of Chapter 13 Plan

After Confirmation.

        Should any party receiving this notice respond or object to said motion such response or

objection is required to be filed with the Clerk of this Court, U.S. Bankruptcy Court, Northern

District of Mississippi, 703 Highway 145 North, Aberdeen, Mississippi 39730, and served on the

Attorney for the Movant on or before said objection due date. If any objection or response is

filed, the Court will notify the parties of a date, time and place for the hearing thereon,

otherwise, the Court may consider said motion immediately after the objection or response due

date.

        RESPECTFULLY SUBMITTED, this the 4th day of September, 2018.

                                            /s/Karen B. Schneller
                                            KAREN B. SCHNELLER, MSB#6558
                                            ROBERT H. LOMENICK, MSB #104186
                                            SCHNELLER & LOMENICK, P.A.
                                            126 North Spring Street
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                               CERTIFICATE OF SERVICE

       I, Karen B. Schneller/Robert H. Lomenick, Attorney for Debtor, do hereby certify that I

have this day mailed postage prepaid and/or via electronic delivery, a true and correct copy of

the above and foregoing Motion To Modify Chapter 13 Plan After Confirmation and Notice of

Motion to:

Locke D. Barkley
Chapter 13 Trustee
6360 I-55 North, Suite 140
Jackson, MS 39211

Office of the U. S. Trustee
501 East Court Street, Suite 6-430
Jackson, MS 39201


all creditors on matrix

       This the 4th day of September, 2018

                                             /s/Karen B. Schneller
                                             KAREN B. SCHNELLER
                                             ROBERT H. LOMENICK
